                                                         Case 3:13-cv-01271-RS Document 324 Filed 03/23/21 Page 1 of 4



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                                                                                   UNITED STATES DISTRICT COURT
                                                  15
                                                                          FOR THE NORTHERN DISTRICT OF CALIFORNIA
                                                  16

                                                  17   VINCENT D. MULLINS, individually and on       Case No. 3:13-cv-01271-RS
                                                       behalf of all others similarly situated,
                                                  18                                                 Judge:       Hon. Richard Seeborg
                                                                             Plaintiff,              Courtroom:   3, 17th Floor
                                                  19
                                                              v.                                     DEFENDANT PREMIER
                                                  20                                                 NUTRITION’S NOTICE OF APPEAL
                                                       PREMIER NUTRITION CORPORATION f/k/a           AND NINTH CIRCUIT RULE 3-2
                                                  21   JOINT JUICE, INC.,                            REPRESENTATION STATEMENT

                                                  22                         Defendant.              CLASS ACTION

                                                  23                                                 Action Filed: March 21, 2013

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                                                               NOTICE OF APPEAL AND NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
                                                         Case 3:13-cv-01271-RS Document 324 Filed 03/23/21 Page 2 of 4



                                                   1          Notice is hereby given that Defendant Premier Nutrition Company, LLC (“Premier”)

                                                   2   appeals to the United States Court of Appeals for the Ninth Circuit from the district court’s Order

                                                   3   Denying Motion for Permanent Injunction entered on February 24, 2021 (Dkt. 319). There has

                                                   4   been one previous appeal in this case, Ninth Circuit No. 18-15890.

                                                   5

                                                   6    Dated: March 23, 2021                         VENABLE LLP
                                                   7
                                                                                                      By: /s/ Angel A. Garganta
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                                                               NOTICE OF APPEAL AND NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
                                                         Case 3:13-cv-01271-RS Document 324 Filed 03/23/21 Page 3 of 4



                                                   1                NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
                                                   2          1.      Defendant-Appellant Premier Nutrition Company, LLC is represented by the

                                                   3   following counsel:

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                                                              2.      Plaintiff-Appellee Kathleen Sonner is represented by the following counsel:
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                                                               NOTICE OF APPEAL AND NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
                                                         Case 3:13-cv-01271-RS Document 324 Filed 03/23/21 Page 4 of 4



                                                   1                                   CERTIFICATE OF SERVICE
                                                   2          I hereby certify that on March 23, 2021, I electronically filed the foregoing with the Clerk

                                                   3   of Court using the CM/ECF system which will send notification of such filing to the email

                                                   4   addresses denoted on the Electronic Mail Notice List, and I hereby certify that I have mailed the

                                                   5   foregoing document or paper via the United States Postal Service to the non-CM/ECF participants

                                                   6   indicated on the Electronic Mail Notice List.

                                                   7

                                                   8    Dated: March 23, 2021                               By: /s/ Angel A. Garganta
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                                                               NOTICE OF APPEAL AND NINTH CIRCUIT RULE 3-2 REPRESENTATION STATEMENT
